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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NORTH DAKOTA


            In Re:                                               Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                    Chapter 11

                                  Debtor.


                APPLICATION FOR AN ORDER APPOINTING KURTZMAN CARSON
             CONSULTANTS, LLC AS ADMINISTRATIVE AGENT FOR THE DEBTOR-IN-
            POSSESSION PURSUANT TO 11 U.S.C. §§ 327(A), 328, AND 330 AND RULES 2014
             AND 2016 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE, NUNC
                              PRO TUNC TO THE PETITION DATE


                     Vanity Shop of Grand Forks, Inc. (the “Debtor”) in the above-captioned chapter 11

            case hereby files this application (this “Application”), pursuant to sections 327(a), 328 and

            330 of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2014 and 2016

            of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), seeking entry of

            an order, in substantially the form attached hereto as Exhibit C (the “Retention Order”):

            (i) authorizing and approving the retention and appointment of Kurtzman Carson

            Consultants, LLC (“KCC”) as administrative agent (the “Administrative Agent”) for the

            Debtor in this Chapter 11 case, effective as of the Petition Date (as defined herein); and

            (ii) providing any additional relief required in order to effectuate the foregoing. In support of

            this Application, the Debtor relies on the Declaration of Jill Motschenbacher in Support of

            Chapter 11 Petition and First Day Motions (the “First Day Declaration”) concurrently filed

            herewith and the declaration of Robert Jordan (the “Jordan Declaration”), attached hereto




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            as Exhibit A and incorporated by reference herein. In further support of this Application,

            the Debtor respectfully represents as follows:

                                           JURISDICTION AND VENUE

                   1.      The Court has jurisdiction over this Chapter 11 case and this Application

            pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C.

            § 157(b) and may be determined by this Court. Venue of this Chapter 11 case and this

            Application in this district is proper under 28 U.S.C. §§ 1408 and 1409.

                   2.      The statutory bases for the relief requested herein are 28 U.S.C. § 156(c), and

            Bankruptcy Rule 2002.

                                                    BACKGROUND

                   3.      On the date hereof (the “Petition Date”), the Debtor commenced a voluntary

            case under chapter 11 of the Bankruptcy Code. The Debtor is authorized to continue to

            operate its business and manage its property as a debtor in possession pursuant to sections

            1107(a) and 1108 of the Bankruptcy Code. To date, no trustee, examiner or statutory

            committee has been appointed in this Chapter 11 case.           Additional factual background

            relating to the Debtor’s business, capital structure and the commencement of this Chapter 11

            case is set forth in detail in the First Day Declaration.

                   4.      Although the Debtor has not yet filed its schedules of assets and liabilities,

            Debtor knows that there will be in excess of two thousand individuals and entities to be

            noticed. In view of the number of claimants and the complexity of the Debtor’s business, the

            Debtor submits that the appointment of an Administrative Agent is both necessary and in the

            best interests of both the Debtor’s estate and its creditors.




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                                              RELIEF REQUESTED

                   5.      By this Application, the Debtor seeks an order authorizing it to employ and

            retain KCC as Administrative Agent for the Debtor pursuant to the terms and conditions of

            the KCC Agreement for Services (the “Engagement Agreement”) annexed hereto as

            Exhibit B and incorporated by reference herein, nunc pro tunc to the Petition Date.

                   6.      In addition to this Application, the Debtor has filed an application under

            28 U.S.C. § 156(c) for authorization to retain KCC to serve as the claims, noticing and ballot

            agent in this Chapter 11 case (the “Section 156(c) Application”).             Given that the

            administration of this Chapter 11 case will require KCC to perform duties outside the scope

            of 28 U.S.C. § 156(c), the Debtor supplements the Section 156(c) Application with this

            Application.

                   7.      11 U.S.C. § 327(a) provides that a debtor, subject to Court approval:

                   . . . [M[ay employ one or more attorneys, accountants, appraisers, auctioneers,
                   or other professional persons, that do not hold or represent an interest adverse
                   to the estate, and that are disinterested persons, to represent or assist the
                   [debtor] in carrying out the [debtor]’s duties under this title.

            11 U.S.C. § 327(a). Moreover, section 328 of the Bankruptcy Code provides that a debtor,

            subject to Court approval, “may employ or authorize the employment of a professional

            person under section 327 . . . on any reasonable terms and conditions of employment,

            including on a retainer, on an hourly basis, on a fixed or percentage fee basis, or on a

            contingent fee basis.” 11 U.S.C. § 328(a).

                   8.      Bankruptcy Rule 2014(a) requires that an application for retention include:

                   . . . [S]pecific facts showing the necessity for the employment, the name of the
                   person to be employed, the reasons for the selection, the professional services
                   to be rendered, any proposed arrangement for compensation, and, to the best
                   of the applicant's knowledge, all of the [firm]’s connections with the debtor,


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                   creditors, any other party in interest, their respective attorneys and
                   accountants, the United States trustee, or any person employed in the office of
                   the United States trustee.

            Fed.R.Bank.P. 2014.

                                            KCC’S QUALIFICATIONS

                   9.     KCC     is   a   bankruptcy   administrator   that   specializes   in   providing

            comprehensive chapter 11 administrative services including noticing, claims processing,

            balloting and other related services critical to the effective administration of Chapter 11

            cases. KCC is comprised of leading industry professionals with significant experience in

            both the legal and administrative aspects of large, complex Chapter 11 cases. KCC has

            developed efficient and cost-effective methods to handle properly the voluminous mailings

            associated with the noticing, claims processing and balloting portions of chapter 11 cases to

            ensure the orderly and fair treatment of creditors, equity security holders and all parties in

            interest. Further, KCC will work with the Clerk's Office to ensure that such methodology

            conforms to all of the Court's procedures, the Local Bankruptcy Rules of the United States

            Bankruptcy Court for the District of North Dakota (the “Local Bankruptcy Rules”) and the

            provisions of any orders entered by this Court. KCC has provided identical or substantially

            similar administrative services in other chapter 11 cases. See, e.g., In re Peabody Energy

            Corporation, et al., No. 16-42529 (Bankr. E.D. Mo. Apr. 13, 2016); In re Falcon Prods.,

            Inc., No. 05-41108 (Bankr. E.D. Mo. March 10, 2005) (Docket No. 255); see also In re

            Alpha Natural Res., Inc., No. 15-33896 (Bankr. E.D. Va. Aug. 5, 2015) (Docket No. 93); In

            re Walter Energy, Inc., No. 15-02741 (Bankr. N.D. Ala. July 15, 2015) (Docket No. 55);

            Azure Midstream Partners, LP, et al., Case No. 17-30461 (Bankr. S.D. Tex. Jan. 30, 2017);




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            Forbes Energy Services, Ltd., et al., Case No. 17-20023 (Bankr. S.D. Tex. Jan. 22, 2017);

            Erickson Incorporated, et al., No. 16-34393 (Bankr. N.D. Tex. Nov. 11, 2016); AstroTurf,

            LLC, No. 16-41504 (Bankr. N.D. Ga. June 28, 2016) In re AMF Bowling Worldwide, Inc.,

            No. 12-36495 (Bankr. E.D. Va. Nov. 14, 2012) (Docket No. 61); In re Old HB (f/k/a Hostess

            Brands, Inc.), No. 12-22052 (Bankr. S.D.N.Y. Jan. 27, 2012 (Docket No. 201); In re

            Eastman Kodak Co., No. 12-10202 (Bankr. S.D.N.Y. Jan. 19, 2012) (Docket No. 47); In re

            Movie Gallery, Inc., No. 10-30696 (Bankr. E.D. Va. Feb. 3, 2010) (Docket No. 73); In re

            Circuit City Stores, Inc., No. 08-35653 (Bankr. E.D. Va. Nov. 12, 2008) (Docket No. 108).

                                         SERVICES TO BE RENDERED

                   10.    The Debtor seeks to retain KCC to provide, among other things, the following

            bankruptcy administrative services (the “Administrative Services”), if and to the extent

            requested:

                          a.     Assisting with, among other things, solicitation, balloting, and
                                 tabulation and calculation of votes, as well as preparing any appropriate
                                 reports, as required in furtherance of confirmation of plans(s) of
                                 reorganization (the “Balloting Services”);

                          b.      Generating an official ballot certification and testifying, if necessary,
                                 in support of the ballot tabulation results;

                          c.     In connection with the Balloting Services, handling requests for
                                 documents from parties-in-interest, including, if applicable, brokerage
                                 firms and bank back-offices and institutional holders;

                          d.     Gathering data in conjunction with the preparation, and assisting with
                                 the preparation, of the Debtor’s schedules of assets and liabilities and
                                 statements of financial affairs;

                          e.     Managing and coordinating any distributions pursuant to a confirmed
                                 plan of reorganization or otherwise; and

                          f.     Provide such other processing, solicitation, balloting and other
                                 administrative services described in the Services Agreement, but not



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                                   included in the Section 156(c) Application, as may be requested from
                                   time to time by the Debtor or the Court.

                                                  COMPENSATION

                   11.     The Debtor proposes to compensate KCC in accordance with the Engagement

            Agreement. The Engagement Agreement sets forth the proposed hourly consulting fee rates,

            which are subject to adjustment based on KCC’s ordinary billing practices. Consistent with

            company policy with respect to its other clients, KCC will charge the Debtor for all

            Administrative Services provided and for other charges and disbursements incurred in the

            rendition of services. These charges and disbursements include (without limitation) costs for

            photocopying, electronic data management services, including scanning and document

            imaging, travel, travel-related expenses, meals, messengers, couriers, postage and other fees

            related to the services.

                   12.     During the course of this Chapter 11 case, KCC will apply to the Court for

            allowance of compensation for professional services rendered and reimbursement of

            expenses incurred in connection with the services rendered in connection with the

            Engagement Agreement in accordance with the applicable provisions of the Bankruptcy

            Code, the Bankruptcy Rules, the Local Rules, and any order entered in this Chapter 11 case

            governing the professional compensation and reimbursement for services rendered and

            charges and disbursements incurred.

                   13.     The Debtor believes that the rates to be charged by KCC for its services are

            competitive with the rates charged by its competitors. Prior to the Petition Date, the Debtor

            provided KCC a retainer in the amount of $30,000.00 in connection with prepetition services

            and has paid prepetition fees and expenses in the amount of $7,000 out of said retainer.



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                                                DISINTERESTEDNESS

                   14.     The Debtor understands that except as otherwise set forth in the accompanying

            Jordan Declaration and other than in connection with this Chapter 11 Case, KCC and its

            employees (i) do not have any connection with the Debtor, its affiliates, its creditors, or any

            other party in interest, or their respective attorneys and accountants, the United State Trustee

            for the District of North Dakota or any person employed in the office of the same, or any

            judge in the Bankruptcy Court for the District of North Dakota or any person employed in

            the offices of the same with respect to any matter for which it will be employed; (ii) are

            “disinterested persons,” as that term is defined in section 101(14) of the Bankruptcy Code;

            and (iii) do not hold or represent any interest adverse to the estate.

                   15.     KCC will conduct an ongoing review of its files to ensure that no conflict or

            other disqualifying circumstances exist or arise. If any new facts are discovered, KCC will

            supplement its disclosure to the Court. KCC will not share any compensation to be paid by

            the Debtor in connection with KCC’s services as Administrative Agent to the Debtor with

            any other person, other than the principals and employees of KCC, to the extent required by

            section 504 of the Bankruptcy Code

                   16.     For the foregoing reasons, the Debtor believes that the retention of KCC is in

            its best interests and the best interests of its estate, creditors and other parties-in-interest, and

            therefore, the Debtor desires to retain and employ KCC as its Administrative Agent upon the

            terms set forth therein in the Engagement Agreement.




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                                      REQUEST FOR EXPEDITED RELIEF

                    17.   The Debtor is requesting expedited relief on this Application. The Debtor has

            scheduled and served a number of First Day Motions designed to facilitate an orderly

            transition to Chapter 11. The granting of this Application on an expedited basis will enable

            the Debtor to efficiently transition into its role as debtor in possession, and provide the

            Debtor, the Clerk’s Office, and KCC with clarity and certainty regarding each party’s

            respective role and responsibility with respect to Administrative Services in this case. If

            expedited relief is not granted, there will likely be confusion regarding which documents are

            being served and mailed by which entity, which could result in delays in notice to parties in

            interest.

                                                       NOTICE

                    18.   Notice of this Motion has been given to: (i) the Office of the United States

            Trustee for the District of North Dakota; (ii) counsel to Wells Fargo Bank, National

            Association; (iii) holders of the twenty (20) largest unsecured claims on a consolidated basis

            against Debtor; (iv) counsel to any committee appointed in this case; and (v) any party that

            has requested notice pursuant to Bankruptcy Rule 2002. Debtor submits, in light of the

            nature of the relief requested, no other or further notice need be given.

                                                   CONCLUSION

                    19.   WHEREFORE, the Debtor requests entry of an order, in the form annexed

            hereto as Exhibit C, authorizing KCC to act as Administrative Agent to the Debtor, and

            granting the relief requested herein and such other and further relief as the Court deems just

            and proper.




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               Dated this ___ day of February, 2017.


                                                   _______________________________________
                                                  By: Jill Motschenbacher
                                                  Its: Chief Financial Officer


                                                  VOGEL LAW FIRM


                                             BY: /s/ Caren W. Stanley
                                                 Jon R. Brakke (#03554)
                                                 jbrakke@vogellaw.com
                                                 Caren W. Stanley (#06100)
                                                 cstanley@vogellaw.com
                                                 218 NP Avenue
                                                 PO Box 1389
                                                 Fargo, ND 58107-1389
                                                 Telephone: 701.237.6983
                                                 PROPOSED COUNSEL TO DEBTOR IN
                                                 POSSESSION




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                                             EXHIBIT A

                                    (Declaration of Robert Jordan)




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                                     UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NORTH DAKOTA


            In Re:                                                Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                     Chapter 11

                                   Debtor.


                 DECLARATION OF ROBERT JORDAN IN SUPPORT OF DEBTOR’S
                APPLICATION FOR AN ORDER APPOINTING KURTZMAN CARSON
             CONSULTANTS, LLC AS ADMINISTRATIVE AGENT FOR THE DEBTOR-IN-
            POSSESSION PURSUANT TO §§ 327(A), 328 AND 330 AND RULES 2014 AND 2016
            OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE, NUNC PRO TUNC
                                 TO THE PETITION DATE


                     I, Robert Jordan, under penalty of perjury, declare as follows:

                     1.     I am the Managing Director of Corporate Restructuring Services of Kurtzman

            Carson Consultants, LLC (“KCC”) 1, a company specializing in the administration of large

            bankruptcy cases. Except as otherwise noted, I have personal knowledge of the matters set

            forth herein, and if called and sworn as a witness, I could and would testify competently

            thereto.

                     2.     This declaration (the “Declaration”) is made in support of the Debtor’s

            Application for an Order Appointing Kurtzman Carson Consultants, LLC as Administrative

            Agent for the Debtor-In-Possession Pursuant to Sections 327(a), 328 and 330 and Rules

            2014 and 2016 of the Federal Rules of Bankruptcy Procedure, Nunc Pro Tunc to the Petition

            Date (the “Application”).


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                     Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to such terms in the Application or First Day Declaration, as applicable.



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                   3.      As administrative agent, KCC will perform the Administrative Services

            specified in the Engagement Agreement.

                   4.      The fees that KCC will charge in connection with the Administrative Services

            it renders to the Debtor are set forth in the Engagement Agreement. KCC’s rates are

            competitive and comparable to the rates KCC’s competitors charge for similar services and

            are reasonable given the quality of KCC’s services the KCC’s bankruptcy expertise. KCC

            will seek reimbursement from the Debtor in accordance with the terms of the Engagement

            Agreement.

                   5.      KCC will apply to the Court for allowance of compensation and

            reimbursement of out-of-pocket expenses incurred after the Petition Date in connection with

            its services as Administrative Agent to the Debtor, subject to Court approval and in

            accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,

            the Local Rules and any other applicable procedures and order of this Court.

                   6.      KCC     is   a   bankruptcy   administrator    that   specializes   in   providing

            comprehensive chapter 11 administrative services including noticing, claims processing,

            balloting and other related services critical to the effective administration of chapter 11 cases.

            KCC is comprised of leading industry professionals with significant experience in both the

            legal and administrative aspects of large, complex Chapter 11 cases. KCC has substantial

            experience in matters of this size and complexity.           See, e.g., In re Peabody Energy

            Corporation, et al., No. 16-42529 (Bankr. E.D. Mo. Apr. 13, 2016); In re Falcon Prods.,

            Inc., No. 05-41108 (Bankr. E.D. Mo. March 10, 2005) (Docket No. 255); see also In re

            Alpha Natural Res., Inc., No. 15 33896 (Bankr. E.D. Va. Aug. 5, 2015) (Docket No. 93); In




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            re Walter Energy, Inc., No. 15 02741 (Bankr. N.D. Ala. July 15, 2015) (Docket No. 55);

            Azure Midstream Partners, LP, et al., Case No. 17-30461 (Bankr. S.D. Tex. Jan. 30, 2017);

            Forbes Energy Services, Ltd., et al., Case No. 17-20023 (Bankr. S.D. Tex. Jan. 22, 2017);

            Erickson Incorporated, et al., No. 16-34393 (Bankr. N.D. Tex. Nov. 11, 2016); AstroTurf,

            LLC, No. 16-41504 (Bankr. N.D. Ga. June 28, 2016) In re AMF Bowling Worldwide, Inc.,

            No. 12 36495 (Bankr. E.D. Va. Nov. 14, 2012) (Docket No. 61); In re Old HB (f/k/a Hostess

            Brands, Inc.), No. 12-22052 (Bankr. S.D.N.Y. Jan. 27, 2012 (Docket No. 201); In re

            Eastman Kodak Co., No. 12-10202 (Bankr. S.D.N.Y. Jan. 19, 2012) (Docket No. 47); In re

            Movie Gallery, Inc., No. 10 30696 (Bankr. E.D. Va. Feb. 3, 2010) (Docket No. 73); In re

            Circuit City Stores, Inc., No. 08 35653 (Bankr. E.D. Va. Nov. 12, 2008) (Docket No. 108).

                   7.      To the best of my knowledge and belief, and based solely upon information

            provided to me by the Debtor, and except as provided herein, neither KCC, nor any

            employee of KCC, holds or represents any interest materially adverse to the Debtor, its estate

            or its creditors with respect to matters upon which KCC is to be engaged.

                   8.      To the best of my knowledge and belief, and based solely upon information

            provided to me by the Debtor and except as provided herein, neither KCC, nor any employee

            of KCC, has any materially adverse connections to the Debtor, its creditors or equity interest

            holders, or other relevant parties, their respective attorneys and accountants that would

            conflict with the scope of KCC’s retention or would create any interest adverse to the

            Debtor’s estate or any other party-in-interest.

                   9.      I caused to be submitted for review by our conflicts system the names of

            certain material creditors and parties in interest in this Chapter 11 case identified by the




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            Debtor. The results of the conflict check were compiled and reviewed by KCC professionals

            under my supervision. At this time, and as set forth in further detail herein, KCC is not

            aware of any relationship that would present a disqualifying conflict of interest. Should

            KCC discover any new relevant facts or relationships bearing on the matters described herein

            during the period of its retention, KCC will use reasonable efforts to file promptly a

            supplemental declaration.

                   10.     KCC is an indirect subsidiary of Computershare Limited. Computershare

            Limited is a financial services and technologies provider for the global securities industry.

            Within the Computershare corporate structure, KCC operates as a separate, segregated

            business unit. As such, any relationships that Computershare Limited and its affiliates

            maintain do not create an interest of KCC that would be materially adverse to the Debtor’s

            estate or any class of creditors or equity security holders.

                   11.     To the best of my knowledge, and based solely upon information provided to

            me by the Debtor, and except as provided herein, neither KCC nor any of its professionals,

            has any materially adverse connection to the Debtor, its creditors or other relevant parties.

            KCC may have relationships with certain of the Debtor’s creditors as vendors or in

            connection with cases in which KCC serves or has served in a neutral capacity as Claims,

            Noticing and Ballot Agent for another Chapter 11 debtor.

                   12.     KCC has and will continue to represent clients in matters unrelated to this

            Chapter 11 case. In addition, KCC has and will continue to have relationships in the

            ordinary course of its business with certain vendors, professionals and other parties in

            interest that may be involved in the Debtor’s Chapter 11 case in matters unrelated to this




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            case. KCC may also provide administrative services to entities or persons that may be

            creditors or parties in interest in this Chapter 11 case, which services do not directly relate to,

            or have any direct connection with, this Chapter 11 case or the Debtor.

                   13.     KCC and its personnel in their individual capacities regularly utilize the

            services of law firms, accounting firms and financial advisors. Such firms engaged by KCC

            or its personnel may appear in Chapter 11 cases representing the Debtor or parties in interest.

            All engagements where such firms represent KCC or its personnel in their individual

            capacities are unrelated to this Chapter 11 case.

                   14.     To the best of my knowledge, neither KCC nor any of its partners or

            employees represents any interest materially adverse to the Debtor’s estate with respect to

            any matter upon which KCC is to be engaged. Based on the foregoing, I believe that KCC is

            a “disinterested person” as that term is defined in section 101(14) of the Bankruptcy Code.

            Prior to the Petition Date, the Debtor provided KCC a retainer in the amount of $30,000.00

            in connection with prepetition services in connection with retention under the Section 156(c)

            Application and has paid prepetition fees and expenses in the amount of $7,000 out of said

            retainer. KCC seeks to hold the remainder of the retainer under the Engagement Agreement

            during this Chapter 11 case as security for the payment of fees and expenses under the

            Engagement Agreement.

                   15.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

            foregoing is true and correct to the best of my information, knowledge and belief.




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               Dated this ____ day of February, 2017.


                                                  _______________________________________
                                                 Robert Jordan, Managing Director of Corporate
                                                 Restructuring Services




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                                            EXHIBIT B

                                      (Engagement Agreement)




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                                            EXHIBIT C

                                    (Proposed Retention Order)




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                                  UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NORTH DAKOTA


            In Re:                                             Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                  Chapter 11

                                 Debtor.


              ORDER AUTHORIZING RETENTION AND APPOINTMENT OF KURTZMAN
               CARSON CONSULTANTS, LLC AS ADMINISTRATIVE AGENT FOR THE
             DEBTOR-IN-POSSESSION PURSUANT TO §§ 327(A), 328 AND 330 AND RULES
             2014 AND 2016 OF THE FEDERAL RULES OF CIVIL PROCEDURE, NUNC PRO
                                 TUNC TO THE PETITION DATE


                     Upon consideration of the Application for an Order Appointing Kurtzman Carson

            Consultants, LLC as Administrative Agent for the Debtor-In-Possession Pursuant to Sections

            327(a), 328 and 330 and Rules 2014 and 2016 of the Federal Rules of Bankruptcy

            Procedure, Nunc Pro Tunc to the Petition Date (the “Application”) 1 of the Debtor for an

            order authorizing the retention and appointment of KCC as administrative agent, pursuant to

            the terms set forth in the Application; and upon the declaration of Robert Jordan submitted in

            support of the Application; and upon consideration of the First Day Declaration; and the

            Court being satisfied, based on the representations made in the Application and the Jordan

            Declaration, that KCC and its professionals are “disinterested” as such term is defined in

            section 101(14) of the Bankruptcy Code, neither hold nor represent any interest adverse to

            the Debtor and its estate; and the Court having jurisdiction to consider the Application and

            the relief requested therein pursuant to 28 U.S.C. §§ 1334 and 157; and consideration of the

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                     Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to such terms in the Application or First Day Declaration, as applicable.



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            Application and the requested relief being a core proceeding under 28 U.S.C. § 157(b); and

            venue being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of

            the Application having been provided; and it appearing that no other or further notice need

            be provided; and the relief requested in the Application being in the best interests of the

            Debtor, its estate, its creditors and other parties in interest; and the Court having reviewed the

            Application; and the Court having determined that the legal and factual bases set forth in the

            Application establish just cause for the relief granted herein; and after due deliberation and

            sufficient cause appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.      The relief requested in the Application is hereby GRANTED.

                   2.      The Debtor is hereby authorized to employ and retain KCC as its

            Administrative Agent nunc pro tunc to the Petition Date on the terms set forth in the

            Application, the Engagement Agreement and this Order. KCC is authorized to provide the

            Administrative Services described in the Application.

                   3.      The terms of the Engagement Agreement, including without limitation, the fee

            provisions, are reasonable terms and conditions of employment and are approved.

                   4.      With respect to the Administrative Services to be provided as Administrative

            Agent for the Debtor, KCC shall apply to the Court for allowances of compensation and

            reimbursement of out-of-pocket expenses incurred in this Chapter 11 case after the filing of

            the petition in accordance with the applicable provisions of the Bankruptcy Code, the

            Bankruptcy Rules, the Local Rules, and any order entered in this Chapter 11 case governing




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            professional compensation and reimbursement for services rendered and charges and

            disbursements incurred.

                   5.      The Debtor is authorized and empowered to take all actions necessary to

            implement the relief granted in this Order.

                   6.      KCC is authorized and empowered to take all actions necessary to comply

            with all duties set forth in the Application and this Order.

                   7.      Notwithstanding anything to the contrary in the Engagement Agreement, the

            Application, or the Jordan Declaration, the Debtor shall indemnify KCC under the terms of

            the Engagement Agreement; subject the following:

                           a.     KCC shall not be entitled to indemnification, contribution or
                                  reimbursement pursuant to the Engagement Agreement for services
                                  other than the services provided under the Engagement Agreement,
                                  unless such services and the indemnification, contribution or
                                  reimbursement therefore are approved by the Court.

                           b.     Notwithstanding anything to the contrary in the Engagement
                                  Agreement, the Debtor shall have no obligation to indemnify KCC, or
                                  provide contribution or reimbursement to KCC, for any claim or
                                  expense that is either: (i) judicially determined (the determination
                                  having become final) to have arisen from KCC’s gross negligence,
                                  willful misconduct, or fraud; (ii) for a contractual dispute in which the
                                  Debtor alleges the breach of KCC’s contractual obligations if the Court
                                  determines that indemnification, contribution or reimbursement would
                                  not be permissible pursuant to In re United Artists Theatre Co., et al.,
                                  315 F.3d 217 (3d Cir. 2003), or (iii) settled prior to a judicial
                                  determination under (i) or (ii), but determined by this Court, after
                                  notice and a hearing, to be a claim or expense for which KCC should
                                  not receive indemnity, contribution or reimbursement under the terms
                                  of the Engagement Agreement as modified by the Retention Order.

                           c.     If, before the earlier of (i) the entry of an order confirming a Chapter 11
                                  plan in these cases (that order having become a final order no longer
                                  subject to appeal), or (ii) the entry of an order closing this Chapter 11
                                  case, KCC believes that it is entitled to the payment of any amounts by
                                  the Debtor on account of the Debtor’s indemnification, contribution
                                  and/or reimbursement obligations under the Engagement Agreement


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                                 (as modified by the Retention Order), including without limitation the
                                 advancement of defense costs, KCC must file an application therefore
                                 in this Court, and the Debtor may not pay any such amounts to KCC
                                 before the entry of an order by this Court approving the payment. This
                                 paragraph is intended only to specify the period of time under which
                                 the Court shall have jurisdiction over any request for fees and expenses
                                 by KCC for indemnification, contribution or reimbursement, and not a
                                 provision limiting the duration of the Debtor’s obligation to indemnify
                                 KCC. All parties in interest shall retain the right to object to any
                                 demand by KCC for indemnification, contribution or reimbursement.

                          d.     There shall be no limitation of liability in favor of KCC during the
                                 pendency of the Debtor’s Chapter 11 case.

                   8.     In the event of an inconsistency between the Application, the Engagement

            Agreement and this Order, this Order shall govern.

                   9.     Notwithstanding the possible applicability of Bankruptcy Rules 6004, 7062, or

            9014, or otherwise, the terms and conditions of this Order shall be immediately effective and

            enforceable upon its entry.

                   10.    This Court shall retain jurisdiction with respect to all matters relating to the

            interpretation or implementation of this Order.

                   Dated this ___ day of _______________________, 2017.


                                                        _______________________________________
                                                        United States Bankruptcy Judge




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